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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

UNITED STATES OF AMERICA,                 )
                                          )
v.                                        ) Docket No. 2:17-cr-117-NT
                                          )
MST MINERALIEN SCHIFFARHT                 )
SPEDITION UND TRANSPORT                   )
GmbH and REEDEREI MS                      )
MARGUERITA                                )
GmbH & Co. GESCHLOSSENE                   )
INVESTMENT KG,                            )
                                          )
                    Defendants.           )


              ORDER ON DEFENDANTS’ MOTION TO DISMISS

      On August 22, 2017, a federal grand jury indicted the Defendants on nine

counts. Indictment (ECF No. 1). Counts One through Eight charge the Defendants

with violations of the Act to Prevent Pollution from Ships, 33 U.S.C. § 1908(a) and 18

U.S.C. § 2, and Count Nine alleges obstruction of justice under 18 U.S.C. § 1519 and

18 U.S.C. § 2. The Defendants move to dismiss Counts One through Eight for failure

to state an offense against the laws of the United States under Federal Rule of

Criminal Procedure 12(b)(3)(B). (ECF No. 30.) For the following reasons, the

Defendants’ motion is DENIED.


                           FACTUAL BACKGROUND

      For the purposes of a motion to dismiss, I take the allegations of the Indictment

as true. Boyce Motor Lines v. United States, 342 U.S. 337, 343 n. 16 (1952). The M/V

Marguerita is a 19,104 gross ton, ocean-going motor vessel. It is owned by Defendant

Reederei MS Marguerita GmbH & Co. Geschlossene Investment-KG (“Reederei
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Marguerita”) and managed by MST Mineralien Schiffarht Spedition und Transport

GmbH (“MST”), both of which are German-domiciled companies. The M/V

Marguerita is registered by the Republic of Liberia.

       Large vessels like the M/V Marguerita generate oily wastes called machinery

space bilge water when water mixes in the bottom of the vessel with oil that has

leaked from the machinery or the lubrication and fuel systems. These oily mixtures

are collected, stored, and processed to separate the water from the oil and other

wastes using a pollution prevention control device known as an Oil-Water Separator

and an oil-sensing device known as an Oil Content Monitor. Machinery space bilge

water may only be discharged overboard after this separation process ensures that

most of the oil has been removed. Under international and federal pollution laws, all

disposals or transfers of machinery space bilge water must be recorded in the vessel’s

Oil Record Book (“ORB”).

       The M/V Marguerita’s chief engineer was responsible for tracking the

generation, transfer, and disposal of oily waste from the vessel and making timely

entries of these occurrences in the ship’s ORB. The M/V Marguerita’s senior

engineers were responsible for maintaining the ORB on behalf of the master. When

the M/V Marguerita entered the Port of Portland on September 14, 2016, October 13,

2016, November 11, 2016, December 8, 2016, January 10, 2017, February 14, 2017,

March 16, 2017, and April 11, 2017, the Defendants, acting through their agents and

employees, knowingly failed to fully and accurately maintain the ORB.1 Specifically,


1      The Defendants raised additional facts not contained in the Indictment in their motion to
dismiss, and the Government, in turn, raised additional facts in its response to the motion. Because

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the book failed to include “(1) transfers of machinery space bilge water into the Fresh

Water Drain Tank; (2) transfers of machinery space bilge water from the Fresh Water

Drain Tank into the Grey Water Tank; and (3) discharges overboard of machinery

space bilge water and oil residue.” Indictment ¶¶ 8, 10, 12, 14, 16, 18, 20, 22.


                                      LEGAL STANDARD

       An indictment “must be a plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). An

indictment is sufficient if it: “first . . . contains the elements of the offenses charged

and fairly informs a defendant of the charge against which he must defend, and,

second . . . enables him to plead an acquittal or conviction in bar of future prosecutions

for the same offense.” United States v. Resendiz–Ponce, 549 U.S. 102, 108 (2007)

(quoting Hamling v. United States, 418 U.S. 87, 117 (1974)). “An indictment that

tracks the language of the underlying statute generally suffices to meet this standard;

provided, however, that the excerpted statutory language sets out all of the elements

of the offense without material uncertainty.” United States v. Troy, 618 F.3d 27, 34

(1st Cir. 2010) (quoting United States v. Serino, 835 F.2d 924, 929 (1st Cir. 1987)).

Dismissal of an indictment is “an extraordinary step.” United States v. Stokes, 124

F.3d 39, 44 (1st Cir. 1997). “When a federal court uses its supervisory power to

dismiss an indictment it directly encroaches upon the fundamental role of the grand



the Defendants’ motion is based on the inadequacy of the indictment under Federal Rule of Criminal
Procedure 12(b)(3)(B), my analysis focuses solely on the allegations of the indictment and does not
consider the evidence that either party represents it would prove at trial. United States v. Curley, No.
13-cr-58-JAW, 2014 WL 199948, at *2 n.2-3 (D. Me. Jan. 16, 2014).


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jury. That power is appropriately reserved, therefore, for extremely limited

circumstances.” Whitehouse v. U.S. Dist. Court, 53 F.3d 1349, 1359 (1st Cir. 1995).


                                   DISCUSSION

I.    Statutory Framework

      Congress passed the Act to Prevent Pollution on Ships (“APPS”) to implement

two international environmental treaties: the International Convention for the

Prevention of Pollution from Ships, Nov. 2, 1973, 1340 U.N.T.S. 184, and the Protocol

of 1978 relating to the International Convention for the Prevention of Pollution from

Ships, Feb. 17, 1978, 1340 U.N.T.S. 61. United States v. Ionia Mgmt. S.A. (“Ionia II”),

555 F.3d 303, 306 (2d. Cir. 2009). These treaties are collectively referred to as

“MARPOL,” and their purpose is to “achieve the complete elimination of international

pollution of the marine environment by oil and other harmful substances.” 1340

U.N.T.S. at 128. MARPOL Annex 1 addresses the prevention of oil pollution, limits

the oil content of discharges, and requires that transfers and discharge be recorded

in the vessel’s ORB.

      The APPS criminalizes knowing violations of MARPOL and the regulations

issued thereunder. 33 U.S.C. § 1908(a); see also United States v. Abrogar, 459 F.3d

430, 434-35 (3d Cir. 2006). The APPS authorizes the United States Coast Guard to

“prescribe any necessary or desired regulations to carry out the provisions of . . .

MARPOL.” 33 U.S.C. § 1903(c)(1); see also 33 C.F.R. § 151.01 et seq.

      The regulation at issue in this case, 33 C.F.R. § 151.25, is captioned “Oil Record

Book.” It provides that a “ship of 400 gross tons and above . . . shall maintain an Oil


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Record Book” that is kept “readily available for inspection at all reasonable times.”

33 C.F.R. §§ 151.25(a), (i). Under § 151.25, entries must be made in the ORB

whenever there is “[d]isposal of oil residue” or “[d]ischarge overboard or disposal

otherwise of bilge water that has accumulated in machinery spaces.” 33 C.F.R.

§§ 151.25(d)(3)-(4). These entries

      shall be fully recorded without delay in the Oil Record Book so that all
      the entries in the book appropriate to that operation are completed.
      Each completed operation shall be signed by the person or persons in
      charge of the operations concerned and each completed page shall be
      signed by the master or other person having charge of the ship.


33 C.F.R. § 151.25(h). “The master or other person having charge of a ship required

to keep an Oil Record Book shall be responsible for the maintenance of such record.”

33 C.F.R. § 151.25(j).

      The APPS and its regulations apply to foreign-flagged vessels only “in the

navigable waters of the United States, or while at a port or terminal under the

jurisdiction of the United States.” 33 C.F.R. § 151.09(a)(5); see also 33 U.S.C.

§ 1902(a)(2). For violations of the treaties that occur in international waters, the

country that has registered the ship, also known as the flag state, is responsible for

enforcement of the law. Ionia II, 555 F.3d at 308.

II.   Analysis

      The Defendants present a multifaceted argument that the Indictment should

be dismissed. They first make a jurisdictional/vicarious liability argument that they

cannot be prosecuted for the wayward acts of the M/V Marguerita’s chief engineer

committed on the high seas. They next contend that the Indictment failed to plead a


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factual predicate for an element of “presentation.” Finally, they argue that the rule

of lenity should apply since this is a novel application of the law, and they claim that

their due process rights have been violated because they did not have notice that their

conduct violates the law. I consider each argument in turn.

        A.      Jurisdiction and Corporate Liability

        The Defendants’ first argument begins with their claim that under 33 C.F.R.

§ 151.25, only the master of the ship is responsible for maintaining the ORB. The

Defendants claim that Counts One through Eight of the Indictment fail to charge

offenses against the laws of the United States because it was the chief engineer’s

conduct on the high seas which caused the ORB to be inaccurate and not the master’s

failure to maintain the ORB within the territorial waters of the United States.2 The

Defendants, relying heavily on United States v. Fafalios, argue that because the chief

engineer has no obligation to maintain the ORB in territorial waters,3 they, as

corporate entities, can have no vicarious liability. See United States v. Fafalios, 817

F.3d 155, 161-62 (5th Cir. 2016). Further, although the Defendants acknowledge that

the chief engineer could be charged with aiding and abetting the master’s failure to

maintain the ORB, they claim that this aiding and abetting culpability should not

extend to them. Layering the concept of corporate vicarious liability atop the aiding




2       This factual assertion is not contained within the Indictment.
3        The chief engineer could be prosecuted in the United States for his own failure to record a
discharge only if that failure occurred within United States’ waters. United States v. Fafalios, 817 F.3d
155, 158 (5th Cir. 2016). The Defendants claim that Liberia, as the M/V Marguerita’s country of
registration, has “primary, if not exclusive jurisdiction” over this alleged MARPOL violation because
the failure to record occurred on the high seas.


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and abetting liability of the chief engineer goes too far in their view. Finally, they

claim that aiding and abetting in this context makes no sense because, if they are

responsible for all acts that are within the scope of the employee’s duties and

committed for the benefit of the employer, then they would be aiding and abetting

themselves.

      My analysis begins with the plain language of 33 C.F.R. § 151.25. Under

§ 151.25, the maintenance of the ORB is mentioned twice:

      (a) Each . . . ship of 400 gross tons and above . . . shall maintain an Oil
      Record Book Part I (Machinery Space Operations).

      ....

      (j) The master or other person having charge of a ship required to keep
      an Oil Record Book shall be responsible for the maintenance of such
      record.


33 C.F.R. § 151.25(a), (j). This regulation expressly applies to foreign-flagged vessels

in the navigable waters and ports of the United States. 33 C.F.R. § 151.09(a)(5).

Under a plain reading of these regulations, a foreign-flagged ship has a duty to

maintain an ORB upon entry into the navigable waters of the United States. Courts

that have addressed this regulation have agreed that § 151.25 “imposes a duty on

ships, upon entering the ports or navigable waters of the United States, to ensure

that its ORB is accurate (or at least not knowingly inaccurate).” Ionia II, 555 F.3d at

308 (adopting United States v. Jho, 534 F.3d 398, 403 (5th Cir. 2008)).

      The Defendants claim that only the ship’s master can be criminally liable for

failing to maintain an ORB, but the cases cited by both sides support the proposition

that the Government is not limited to charging only the master when a ship with an
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inaccurate ORB comes into a port in the United States. While it can bring a criminal

prosecution against a master, Fafalios, 817 F.3d at 160, it can also bring a criminal

prosecution against a chief engineer under an aiding and abetting theory. See id. at

162; Jho, 534 F.3d at 402 n.2. Most importantly, it can bring a criminal prosecution

against the ship owners or operators. See Ionia II, 555 F.3d at 306 (ship management

company); Jho, 534 F.3d at 403 (owner); United States v. Petraia Mar. Ltd., 483 F.

Supp. 2d 34, 38-39 (D. Me. 2007) (owner); United States v. Sanford Ltd., 880 F. Supp.

2d 9, 14, 18 (D.D.C. 2012) (owner/operator).

      The Indictment alleges that Defendant Reederei Marguerita owned and

Defendant MST operated the M/V Marguerita, and that the actions of the crew were

done within the course and scope of their employment on behalf of and for the benefit,

at least in part, of MST and Reederei Marguerita. As such, the Indictment charges,

under a theory of corporate criminal liability, that the Defendants violated the

regulation requiring that a ship maintain an accurate ORB within the territorial

waters of the United States. In Ionia II, the Second Circuit rejected the arguments of

the management company for the M/V Triton that it should not bear corporate

criminal liability for failing to maintain an accurate ORB within the territorial waters

of the United States. Ionia II, 555 F.3d at 309. In doing so, the Second Circuit applied

standard principles of corporate criminal liability—whether the management

company could be criminally liable for the conduct of employees acting within their

authority to benefit the company. See id. The First Circuit applies the same principles

of corporate criminal liability that were used in Ionia II. See United States v. Potter,



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463 F.3d 9, 25-26 (1st Cir. 2006) (corporation may be criminally liable where “agent

is ‘performing acts of the kind which he is authorized to perform,’ and those acts are

‘motivated—at least in part—by an intent to benefit the corporation.’ ”) (quoting

United States v. Cincotta, 689 F.2d 238, 241-42 (1st Cir. 1982), cert. denied, 459 U.S.

991 (1982)).

      The Defendants cling to Fafalios, which held that a chief engineer, who was

responsible for an unrecorded oily discharge in international waters, could not be

prosecuted for a failure to maintain an ORB under 33 C.F.R. § 151.25. See Fafalios,

817 F.3d at 161-62. The government in Fafalios charged the chief engineer in his

individual capacity with the substantive violation of failing to maintain an ORB. Id.

at 158. In addressing whether a chief engineer had the duty under 33 C.F.R. § 151.25

to maintain the ORB, the Fifth Circuit concluded that only the master could be liable

for failing to maintain the ORB. Id. at 162. Critically, the government in Fafalios did

not charge the owners or operators of the ship, and the holding of the case does not

extend to organizational defendants. Although Fafalios may take a chief engineer off

the hook for a substantive failure to maintain an ORB charge, it does nothing to take

the ship or its owners off the hook. In fact, the Fifth Circuit specifically noted that

“the ship itself may be held liable in rem for any violation of the regulations,” and it

did not address the potential criminal liability of the owners or managers of the ship.

Id. The Defendants, in focusing on Fafalios and the inapposite question of whether a

chief engineer can be liable absent an aiding and abetting charge, offer no authority




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which casts any doubt on the Government’s ability to charge a ship owner or operator

criminally for the conduct alleged in this Indictment.

      B.     The “Presentation” Element

      The Defendants also argue that the Indictment is defective because it contains

no allegation that the Defendants “presented” a knowingly false ORB when the M/V

Marguerita entered the Port of Portland. Defs.’ Mem. in Support of Mot. to Dismiss

17 (ECF No. 30-1) (“Defs.’ Mem”); Defs.’ Reply 8 (ECF No. 44). For support, the

Defendants cite to Ionia I, which was based on the “presentation of a false Oil Record

Book to the Coast Guard.” See United States v. Ionia Mgmt. S.A. (“Ionia I”), 498 F.

Supp. 2d 477, 485 (D. Ct. 2007). But just because there was a “presentation” in Ionia

I, does not mean that a prosecution cannot be based on the possession of an inaccurate

ORB within the territorial waters of the United States without an actual presentation

to the Coast Guard. The plain language of the regulation requires the ship “to

maintain” the ORB. 33 C.F.R. § 151.25(a). The term “maintain” as used in § 151.25

has been interpreted as “to keep in a state of . . . validity.” Ionia II, 555 F.3d at 309

(quoting Webster’s Third International Dictionary, Unabridged (2002)). Under the

plain meaning of the regulation, I fail to see a presentation requirement.

      Furthermore, in Petraia, a judge of this District expressly rejected the

argument that the indictment was insufficient because it did not charge the

defendant vessel owner with “presenting” the ORB or holding it out as inaccurate.

483 F. Supp. 2d at 40. Indeed, the Petraia opinion noted that the emergence of

evidence that the ORB had been seized rather than “presented” was not pertinent to



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the question of whether the indictment was sufficient. Id. I see no reason to decide

otherwise.

      An adequate indictment states the elements of the charged offense. See

Resendiz–Ponce, 549 U.S. at 108. Because the requirement that the ORB be

“presented” to the Coast Guard is not contained in 33 C.F.R. § 151.25 and because I

see no reason to imply such an element, this argument fails.

      C.     Statutory Ambiguity: Lenity and Due Process

      Finally, the Defendants argue that the rule of lenity applies and that this

would be such a novel application of the law that it would deny them notice that their

conduct could be subject to criminal sanctions. Defs.’ Mem. 19; Reply 9. The

Government responds that “the right of the Coast Guard to board a vessel and inspect

the log is well-established in maritime law, and the consequences of misrepresenting

pollution discharges—regardless of the applicable statute—cannot be said to be so

unclear as to mandate lenity.” Gov’t’s Opp’n 15 (quoting United States v. Royal

Caribbean Cruises Ltd., 11 F. Supp. 2d 1358, 1366 (S.D. Fla. 1998)).

      Under the rule of lenity, if a statute is ambiguous, courts must draw all

inferences in favor of the defendant. United States v. Nippon Paper Indus. Co., 109

F.3d 1, 7 (1st Cir. 1997). However, “a statute is not ambiguous for this purpose simply

because some courts or commentators have questioned its proper interpretation.” Id.

at 8. Here, the Defendants fail to identify an ambiguity or to cite to a case finding an

ambiguity in 33 U.S.C § 1908(a) or 33 C.F.R. § 151.25. Rather, the case cited by the

Defendants involves the ambiguity about the meaning of the term “cargo related oil

residue” under the discharge rules, 33 C.F.R. § 151.10(c), a complexity not at issue
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here. See United State v. Apex Oil Co., Inc., 132 F.3d 1287, 1289 (9th Cir. 1997). I find

that the statute and regulation provide fair warning with respect to the failure to

maintain violation, and the rule of lenity does not apply. See Ionia I, 498 F. Supp. 2d

at 487. For similar reasons, I conclude that this is not a “novel” application of the law

that that would impose on the Defendants’ due process rights.


                                   CONCLUSION

       For the reasons stated above, the Court DENIES the Defendants’ motion to

dismiss.



SO ORDERED.

                                                /s/ Nancy Torresen
                                                United States Chief District Judge

Dated this 22d day of January, 2018.




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